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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                         Case No. 8:20-mj-1518-AEP

MUHAMMED MOMTAZ AL-AZHARI
_______________________________________/
       MOTION TO RECONSIDER PRELIMINARY HEARING FINDING AND
                      CITATIONS OF AUTHORITY

        NOW COMES Defendant, Muhammed Momtaz Al-Azhari, by and

through undersigned counsel, and requests that this Court reconsider

its preliminary-hearing finding of probable cause, and refusal to dismiss

the complaint and discharge the defendant.

                            MEMORANDUM OF LAW

        At the preliminary hearing, the Court requested that counsel limit

themselves to an organized list of useful authorities to the question of

whether the Government’s evidence is sufficient to show an attempted

violation of 18 U.S.C. § 2339B, given the limitation in subsection (h) of

that statute. Giving respect to that request, the Defense provides the

following list without further argument.
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                     Supreme Court Authority

• Holder v. Humanitarian Law Project, 561 U.S. 1, 23 (2010) (“As
  for ‘personnel,’ Congress enacted a limiting definition in IRTPA
  [the Intelligence Reform and Terrorism Prevention Act] that
  answers plaintiffs’ vagueness concerns. Providing material
  support that constitutes ‘personnel’ is defined as knowingly
  providing a person ‘to work under that terrorist organization’s
  direction and control or to organize, manage, supervise, or
  otherwise direct the operation of that organization.’ § 2339B(h).
  The statute makes clear that ‘personnel’ does not cover
  independent advocacy: ‘Individuals who act entirely
  independently of the foreign terrorist organization to advance its
  goals or objectives shall not be considered to be working under the
  foreign terrorist organization’s direction and control.’ Ibid.”).

                 Analogous Persuasive Authority

• United States v. Abu-Jihaad, 600 F.Supp.2d 362, 400-402 (D.
  Conn. 2009) (granting a motion for judgment of acquittal, in a case
  brought under § 2339A and before § 2339B(h) was enacted, where
  the Government presented no evidence of “coordination, joint
  action, or understanding” between the defendant and the
  organization, noting that “even the Government concedes that if
  the amended definition of § 2339B applies to § 2339A, the
  evidence is wanting.”).

            Distinguishable Eleventh Circuit Cases

• United States v. Augustin, 661 F.3d 1105, 1119-22 (11th Cir. 2011)
  (affirming § 2339B convictions for the inchoate crime of conspiracy
  where defendants took an oath to Al Qaeda with an FBI informant
  posing as an Al Qaeda operative and discussed the planning of
  specific terrorist attacks, noting that the evidence is “far from
  overwhelming.”).


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• United States v. Suarez, 893 F.3d 1330, 1334-35 (11th Cir. 2018)
  (affirming conviction for attempting to provide material support
  under § 2339B where defendant “coordinated directly with
  individuals he believed to be members of ISIS in order to acquire a
  bomb . . . and he accepted the bomb while reiterating his plan to
  detonate it on a crowded beach.”).

              Distinguishable Out-of-Circuit Cases

• United States v. Mehanna, 735 F.3d 32, 43-46 (1st Cir. 2013)
  (affirming conspiracy conviction where defendant traveled to
  Yemen to join an al Qaeda training camp as a recruit).

• United States v. Wright, 937 U.S. 8, 26-27 (1st Cir. 2019)
  (affirming conviction for conspiracy to provide material support
  where defendant received information about target of attack from
  high-ranking ISIS member, pledged allegiance with others to ISIS
  leader, and planned terrorist attack on particular targets).

• United States v. Farhane, 634 F.3d 127, 150 (2d Cir. 2011)
  (affirming conviction for attempt to provide material support in
  the form of personnel where defendant swore an oath with an
  undercover agent to formalize a promise to work as a doctor under
  the foreign terrorist organization’s direction and control).

• United States v. Kaizu, 559 F.Appx. 32, 37 (2d Cir. 2014)
  (“Moreover, because the evidence showed that the object of Kaizu’s
  attempt was to join with other al-Shabaab fighters in Somalia, his
  actions did not fall within the provision that insulates from
  criminal liability those who ‘act entirely independently of the
  foreign terrorist organization to advance its goals or objectives.’
  [18 U.S.C.] § 2339B(h).”).

• United States v. Hendricks, 950 F.3d 348, 353 (6th Cir. 2020)
  (affirming conviction where defendant communicated with and
  took direction from ISIS, viewed himself and his recruits as
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   members of ISIS, and acted in manner consistent with someone
   who was operating or seeking to operate on behalf of ISIS).

• Hosseini v. Nielson, 911 F.3d 355, 376 (6th Cir. 2018) (“[W]e note
  that the civil statute at issue in this case captures a broader range
  of activity than 18 U.S.C. § 2339B. That provision creates a
  carveout for independent political advocacy, even if that advocacy
  promotes the terrorist organization’s legitimacy: ‘[i]ndividuals
  who act entirely independently of the foreign terrorist
  organization to advance its goals or objectives shall not be
  considered to be working under the foreign terrorist organization’s
  direction and control.” 18 U.S.C. § 2339B(h). Because there is no
  record evidence that Hosseini took orders from [the two terrorist
  organizations at issue]–and because Hosseini insists that he was
  not a member of either organization–his conduct might well have
  fallen within this carveout, had he been charged under § 2339B.”).

• United States v. Jones, 383 F.Supp.3d 810, 816 (N.D. Ill. 2019)
  (denying motion to dismiss where defendants attempted to help a
  confidential human source travel overseas to join a foreign
  terrorist organization, explaining, “[T]he Government need only
  prove that the Defendants attempted to provide ‘1 or more
  individuals,’ namely, the [confidential human source], ‘to work
  under [ISIS’s] direction and control.’”) (first and second alterations
  added; second alteration in original).

  Decisions on whether § 2339B(h) is an Affirmative Defense

• United States v. Pugh, No. 15-CR-116 (NGG), 2015 WL 9450598,
  at *11 (E.D.N.Y. 2015) (concluding that § 2339B(h) is not an
  affirmative defense).

• United States v. Shafi, 252 F.Supp.3d 787, 792-93 (N.D. Cal. 2017)
  (agreeing with Pugh).



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                        Legislative History

• House Rep. 109-174(I), 109th Cong., 1st Sess. 2005, 2005 WL
  1705108, at *34 (“To address the Ninth Circuit’s concern [in
  Humanitarian Law Project v. Mukasey, 552 F.3d 916 (9th Cir.
  2009), rev’d, Humanitarian Law Project, 561 U.S. 1] that the term
  ‘personnel’ is unconstitutionally vague and could be interpreted to
  cover those independently advocating on behalf of a foreign
  terrorist organization, the legislation provides that the term
  ‘personnel’ only refers to those either: (1) working under a
  terrorist organization’s direction or control; or (2) managing or
  supervising the terrorist organization. This definition makes it
  clear that those independently advocating on behalf of a foreign
  terrorist organization’s goals are not covered by the material
  support statute.”).

• House Rep. No. 109-174(II), 109th Cong., 1st Sess. 2005, 2005 WL
  1705109, at *7 (“This section repeals section 6603(g) of the IRTPA,
  which would have sunset section 6603 [18 U.S.C. 2339B(h)]. The
  sunset would allow a criminal offense, and not a law enforcement
  tool, to expire. Furthermore, this sunset effectively makes the
  underlying provision unconstitutional. Section 6603 of the IRTPA
  addressed the prohibition against providing material support to
  terrorists and amended the law to address court concerns on the
  constitutionality of the material support provision.”).

• Tools to Fight Terrorism Act of 2004: Hearings on S. 2769 Before
  the Senate Subcommittee on Terrorism, Technology and Homeland
  Security (2004) (Statement of Daniel J. Bryant, Assistant Attorney
  General, Office of Legal Policy, U.S. Dep’t of Justice), available at
  https://www.judiciary.senate.gov/imo/media/doc/Bryant%20Testim
  ony%20050541.pdf (last visited Jun. 2, 2020) (“The Department
  has pointed out that the term ‘personnel’ has a discernible and
  specific meaning, one found in basic dictionary definitions of the
  word: it describes those working under the direction or control of
  a specific entity. Thus, as the Department has explained in its
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     United States’ Attorney’s Manual, the ban on providing ‘personnel’
     to foreign terrorists or terrorist organizations contained in the
     material support statutes covers situations in which individuals
     have submitted themselves to the direction or control of a foreign
     terrorist organization. Independent advocacy of a designated
     foreign terrorist organization’s interests or agenda falls outside
     the scope of the statutes’ coverage. It is for this reason that,
     contrary to the concerns expressed by the Ninth Circuit,
     independent speech or advocacy by an individual in favor, or on
     behalf of, a foreign terrorist organization is not prohibited by the
     statutes. Just as one independently extolling the virtues of
     McDonald’s hamburgers is not supplying ‘personnel’ to the
     restaurant chain, neither is one independently advocating on
     behalf of a foreign terrorist organization supplying ‘personnel’ to
     that organization. But when one works under the direction or
     control of the organization, one does provide ‘personnel.’”).

     WHEREFORE the Defendant, Mr. Al-Azhari, prays this Court

will reconsider its finding of probable cause, dismiss the complaint, and

discharge him.

     DATED this 3rd day of June 2020.

                                         Respectfully submitted,

                                         JAMES T. SKUTHAN
                                         ACTING FEDERAL DEFENDER

                                         /s Samuel E. Landes
                                         Samuel E. Landes
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                     CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on this 3rd of June 2020, a true and

correct copy of the foregoing was filed with the Clerk of the Court using

the CM/ECF system, which will send a notice of the electronic filing to:

     AUSA Patrick Scruggs.

                                         /s Samuel E. Landes
                                         Samuel E. Landes
                                         Assistant Federal Defender




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